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                      IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




 HAITIAN-AMERICANS UNITED INC.;
 VENEZUELAN ASSOCIATION OF
 MASSACHUSETTS; UNDOCUBLACK
 NETWORK, INC.; SYDNEY DOE; MARLENE
 DOE; GUSTAVO DOE; and NATALIA DOE,                     Civil Action No. 25-cv-10498

                              Plaintiffs,

                       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S. DEPARTMENT
 HOMELAND SECURITY; and KRISTI NOEM, in
 her official capacity as Secretary of the Department
 of Homeland Security,

                                Defendants.


                             NOTICE OF RELATED ACTIONS

       Pursuant to this Court’s April 16, 2014 Standing Order, Plaintiffs Haitian Americans

United, Inc. (“HAU”), Venezuelan Association of Massachusetts (“VAM”), UndocuBlack

Network Inc. (“UBN”) and four individual Plaintiffs hereby give notice of the following related

actions:


   1. Related Action(s) Information:

           o   Case Name: National TPS Alliance et al., v. Kristi Noem et al., 25-cv-01766

           o   Forum: U.S. District Court, Northern District of California

           o   Date of Commencement: February 19, 2025




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      o   Parties:

             •   Plaintiffs: National TPS Alliance; Mariela González; Freddy Jose Arape

                 Rivas; M.H.; Cecilia Daniela González Herrera; Alba Cecilia Purica

                 Hernández; E.R.; Hendrina Vivas Castillo.

             •   Defendants: Kristi Noem; U.S. Department of Homeland Security

                 (“DHS”); United States of America.

      o   Claims: Lawsuit challenging DHS’s 2025 Venezuela TPS Vacatur and

          Termination under the Administrative Procedure Act (“APA”) and the Fifth

          Amendment’s equal protection guarantee.

      o   Current Status/Disposition: Pending

             •   Hearing is scheduled on March 24, 2025 on Plaintiffs’ Motion to Stay

                 Agency Action (ECF No. 16).

2. Related Action(s) Information:

      o   Case Name: CASA, Inc. et al., v. Kristi Noem et al., 25-cv-00525

      o   Forum: U.S. District Court, District of Maryland

      o   Date of Commencement: February 20, 2025

      o   Parties:

             •   Plaintiffs: CASA, Inc.; Make the Road New York.

             •   Defendants: Kristi Noem; U.S. Department of Homeland Security.

      o   Claims: Lawsuit challenging DHS’s 2025 Venezuela TPS Vacatur and

          Termination under the Administrative Procedure Act (“APA”) and the Fifth

          Amendment’s equal protection guarantee and Due Process Clause.

      o   Current Status/Disposition: Pending



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                  •   On March 3, 2025, Plaintiffs filed a Motion for Partial Summary

                      Judgment (ECF No. 8) and a Request for a Hearing/Request for Expedited

                      Hearing on their Partial Summary Judgment Motion (ECF No. 25). On

                      March 7, 2025, Defendants filed a Motion to Stay Plaintiffs’ Motion and

                      an Opposition to the Expedited Hearing Request (ECF No. 27). On March

                      11, 2025, Plaintiffs filed a Cross-Motion for a Stay of Agency Action

                      (ECF No. 32).


       In compliance with the Court’s Standing Order, Plaintiffs acknowledge the continuing duty

to inform this Court of any related actions. If Plaintiffs become aware that any related action is

commenced or terminated, Plaintiffs will file a Supplemental Notice of Related Actions within

fourteen (14) days of such event.


Dated: March 11, 2025                               Respectfully submitted,

                                                    /s/ Mirian Albert__________
                                                    Mirian Albert (BBO #710093)
                                                    Oren Sellstrom (BBO #569045)
                                                    Iván Espinoza-Madrigal (BBO # 708080)
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                                 CERTIFICATE OF SERVICE

I hereby certify that on March 11, 2025, the above-captioned document was filed through the ECF
system and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), and paper copies will be sent to those indicated as non-registered
participants.




                                                      /s/Mirian Albert
                                                     Mirian Albert (BBO #710093)




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